                   Case 3:12-cr-00003-DHB-BKE Document 839 Filed 05/13/15 Page 1 of 1
                                                    Pursuairlo l8 U S C $ 1582(cX2)
                                            Reduclion                                                                          Dlsclosu'e)
AO24?(10./ll) OrderResddinsMolionior Sentence

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                                                         UNITED STATESDTSTNTCT                                       A{l6rrsIA
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                                                                    for the
                                                                                                                     illYt3 Pltt:37
                                                            SouthernDistrict of Georgia
                                                                   Dublin Division
                    United Statesof America                                 )
                               v.                                           )
                      JamesAustin,aka"Dirry"                                I ;ffi*:    ffiH*
Dateof originalJudgment:     April23,2013                                   ) Ju*". F. ffiGiilli-
DateolPrevious       Judgment:
               Amended      Not Applicable                                  ) Defendant'sAttorney
Nse Date o;fLast AmendedJudgment iJ Any)

                     Order Regarding Motion for SentenceReduction Pursuant to 18 U.S.C' $ 3582(c)(2)

        Upon motion of l-l the defendant [the       Director of the Bureau of Prisons fflthe coun under 18 U.S.C.
                                                                                                   rangethat has
$ 35S2(c)(2)for a reduction in the term of imprisonmentimposedbasedon a guideline sentencing
iubsequentlybeenloweredand maderetroactiveby the United StatesSentencingCommission              pursuantto 28 U.S C
                                                                                                      USSG $ 1B1 10 and
$ 994(u),andhavingconsideredsuchmotion,and taking into accountthe policy statementsetforth at
the sentencingfactors set forth in 18 U.S.C, $ 3 553(a),to the extent that they are applicable,

I T I S O R D E R E D t h a tt h e m o t i o ni s :
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                                                                        of imprisonment bsrelected
 flOnNtl,O.      ! CnnNfEn and the defendant'spreviously imposedsentence                                 iudsment
                     xved)    of               monthsis reduced to


                                               (CompleteParts I and 11of Page 2 when motion is granted)




Except as otherwiseprovided above, all provisions ofthe judgrnent dated                                 shall remain

IT IS SO ORDERED,

Order Date:               slrs)rs                                                                     's signature




Effective Date:
                                                                                Dudley H. Bowen, Jr.
                     N o v e m b e r1 . 2 0 1 5                                 United StatesDistrict Judse
                       lifdilferent frotn o   er date)
